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          EXHIBIT A
                                Case Electronically Filed by Superior Court of California, County of Orange, 05/19/2022 05:35:11 PM.
                                      8:22-cv-01213-DOC-KES
                            30-2022-01260599-CU-NP-CJC      - ROA # 2 -Document      1-1 FiledClerk
                                                                       DAVID H. YAMASAKI,         06/24/22     Page
                                                                                                      of the Court    2 of 18Gill,Page
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                                        6
                                        7   Attorneys for Plaintiff LA Tech and Consulting, LLC
                                        8
                                        9                                 SUPERIOR COURT OF CALIFORNIA

                                       10                                        COUNTY OF ORANGE                  Assigned for All Purposes
610 Newport Center Drive, Suite 1200




                                       11    LA TECH AND CONSULTING, LLC, a                     Case No.
                                       12    California Limited Liability Company,
     Newport Beach, CA 92660
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                                       13                          Plaintiff,                   COMPLAINT FOR:
                                       14           vs.                                         1. THEFT / RECEIPT OF STOLEN
                                       15                                                          PROPERTY CIVIL CLAIM UNDER
                                             AMERICAN EXPRESS COMPANY, a New                       PENAL CODE SECTION 496(C)
                                       16    York Corporation; AND                              2. CONVERSION
                                             DOES 1 to 50, inclusive,                           3. AIDING AND ABETTING
                                       17
                                                                                                   CONVERSION
                                       18                          Defendants.                  4. MONEY HAD AND RECEIVED

                                       19                                                       Dept:
                                       20
                                       21                                                       [DEMAND FOR JURY TRIAL]

                                       22
                                       23
                                       24          1.      Plaintiff LA TECH AND CONSULTING, LLC, by and through its attorneys, alleges
                                       25   as follows:
                                       26                                                PARTIES
                                       27          2.      Plaintiff LA Tech and Consulting, LLC, (hereinafter, “Plaintiff”) is and all relevant
                                       28   times was a limited liability company duly organized under the laws of the State of California and

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                                                                                       COMPLAINT
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                                        1   authorized to do business in the State of California. At no time was Plaintiff an Originator nor
                                        2   Receiver of any Automated Clearing House (ACH) transactions as hereinafter alleged.
                                        3          3.      Defendant American Express Company is, and all relevant times was, a corporation
                                        4   duly organized under the laws of the State of New York and authorized to do business in the State
                                        5   of California. At all times relevant, American Express Company was an Originator and/or Receiver
                                        6   of every one of the ACH transactions as hereinafter alleged.
                                        7          4.      The true names and capacities of Defendants DOES 1 through 50, inclusive, are
                                        8   presently unknown to Plaintiff. Plaintiff sues these defendants according to their fictitious names as
                                        9   provided on the Code of Civil Procedure § 474. Plaintiff will seek leave of court to amend this
                                       10   Complaint to allege their true names and capacities when ascertained.
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                                       11          5.      Plaintiff alleges on information and belief that each defendant designated herein,
                                       12   either through its own conduct or through the conduct of its agents, servants, or employees are
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                                       13   responsible in some manner for the events and occurrences alleged herein.
                                       14          6.      Plaintiff is informed and believes that Defendant American Express Company and
                                       15   DOES 1 through 50 were and are the agent, employee, member, principal, director, officer, heir,
                                       16   representative and/or joint venturer of each and every other defendant and that all acts herein
                                       17   alleged were performed within the scope and authority of such capacity and were approved of and
                                       18   ratified by each and every other defendant.
                                       19          7.      When this Complaint references any defendant or defendants, such allegations shall
                                       20   be deemed to mean the act of those defendants named in the particular cause of action and each of
                                       21   them acting individually, jointly, and severally.
                                       22          8.      At all relevant times, Defendant American Express Company and DOES 1 through
                                       23   50 were acting in concert with, and in conspiracy with, each and every one of the remaining
                                       24   defendants.
                                       25                                     VENUE AND JURISDICTION
                                       26          9.      Venue is proper in this Court because Defendant American Express Company and
                                       27   DOES 1 through 50 have significant contacts with and have a principal place of business in the
                                       28   County of Orange.

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                                                                                        COMPLAINT
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                                        1                                       FACTUAL BACKGROUND
                                        2           10.     Beginning on or about April 3, 2020, a series of ACH transactions were Originated
                                        3   and Received by Defendants from the unlawful access to Plaintiff’s JP Morgan Chase bank account.
                                        4   The defendants did not have any writing, agreement, authorization or permission to make such
                                        5   unauthorized accessed to Plaintiff’s bank account. Defendant American Express Company and
                                        6   DOES 1 through 50 (hereinafter, collectively, “Defendants”) originated, initiated, transacted, and
                                        7   received from such unauthorized access funds from Plaintiffs bank account.
                                        8           11.     Each of the ACH transfers to Defendants were unauthorized and were conducted by
                                        9   Defendants. The ACH transfers have no connection to the Plaintiff’s business, nor were they made
                                       10   by the Plaintiff or any person authorized by the Plaintiff, nor for any benefit, duty, or obligation of
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                                       11   the Plaintiff. The ACH transactions are the product of fraudulent conduct and theft by the
                                       12   Defendants.
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                                       13           12.     Plaintiff and its officers and directors do not have or possess any account(s) with
                                       14   Defendant American Express Company. Nor were any of the below series of ACH transactions
                                       15   authorized by the Plaintiff, the owner of the account, nor by any signatory on the Plaintiff’s account.
                                       16   These unauthorized ACH money transfers were stolen from the Plaintiff. This stolen property is
                                       17   now and has been at all times relevant in the possession of Defendants.
                                       18           13.     On March 14, 2022, Plaintiff sent a letter to Defendant American Express Company
                                       19   regarding the aforementioned theft and fraud, informing Defendant American Express Company
                                       20   that the property had been stolen, and demanded that Defendant American Express Company return
                                       21   the stolen property to Plaintiff.
                                       22           14.     Defendant American Express Company has at all times relevant known that Plaintiff
                                       23   did not have an American Express Credit Card or Account with American Express. Defendant
                                       24   American Express Company has at all times relevant known that the JP Morgan Chase Bank
                                       25   Account number ending in xx0712 in the name of La Tech and Consulting LLC was not owned,
                                       26   operated, maintained or authorized for Defendants to originate or receive any ACH transfers or
                                       27   transactions. Defendant American Express Company has not demonstrated any written
                                       28   authorization, approval, or reason why, knowing that it is in receipt of stolen property that it has not

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                                                                                        COMPLAINT
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                                        1   returned such property.
                                        2          15.      To date, Defendants have stolen, or received a total of three hundred eighty-eight
                                        3   thousand one hundred thirty-five dollars and sixty-four cents ($388,135.64) in stolen property.
                                        4          16.      Below are the dates, descriptions, and specific amounts of the stolen property as
                                        5   identified in Plaintiff’s JP Morgan Chase Bank Account records that have been originated and
                                        6   received by the defendants:
                                        7
                                             DATE         DESCRIPTION                                                             AMOUNT
                                        8
                                             02/01/2022   Orig CO Name: American Express Orig ID:2005032111 Desc Date: 220201     $10,000.00
                                        9                 CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000020209220 Eed:220201
                                                          Ind ID: nd Name:Reymond Gamzeletova Tm: 0320209220Tc
                                       10    02/02/2022   Orig CO Name: American Express Orig ID:2005032111 Desc Date: 220127     $10,000.00
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                                                          CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000020229030 Eed:220202
                                       11                 Ind ID: Ind Name:Reymond Gamzeletova Tm: 0330229030Tc
                                             01/10/2022   Orig CO Name: American Express Orig ID:2005032111 Desc Date: 220110     $16,000.00
                                       12
     Newport Beach, CA 92660




                                                          CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000024693917 Eed:220110
                                                          Ind ID: Ind Name:Reymond Gamzeletova Tm: 0104693917Tc
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                                       13    08/02/2021   Orig CO Name: American Express Orig ID:2005032111 Desc Date:210802      $35,667.20
                                                          CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000020463449Eed:210802 Ind
                                       14                 ID: Ind Name:Reymond GamzeletovaTrn: 2140463449Tc
                                             07/20/2021   Orig CO Name: American Express Orig ID:2005032111 Desc Date:210720      $13,577.04
                                                          CO Entry DescrACH Pmt Sec:PPD Trace#:021000023363099 Eed:210720 Ind
                                       15                 ID: Ind Name:Reymon d GamzeletovaTrn: 2013363099Tc
                                             07/06/2021   Orig CO Name: American Express Orig ID:2005032111 Desc Date:210706      $15,003.98
                                       16                 CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000026976340Eed:210706 Ind
                                                          ID: Ind Name:Reymond Gamzeletova Trn: 1876976340Tc
                                       17    06/16/2021   Orig CO Name: American Express Orig ID:2005032111 Desc Date: 210616     $24,940.67
                                                          CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000020401590 Eed:210616
                                       18                 Ind ID: Ind Name:Reymond Gamzeletova Tm: 1670401590Tc
                                             05/25/2021   Orig CO Name: American Express Orig ID:2005032111 Desc Date:210525      $17,000.00
                                       19                 CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000029039414 Eed:210525
                                                          Ind ID: Ind Name:ReymondGamzeletova Trn: 1459039414Tc
                                       20    04/26/2021   Orig CO Name: American Express Orig ID:2005032111 Desc Date:210426      $19,000.00
                                                          CO Entry Descr:ACH PmSec:PPD Trace#:021000023711699 Eed:210426 Ind
                                       21                 ID: Ind Name:Reymond Gamzeletova Trn: 1163711699Tc
                                             03/26/2021   Orig CO Name: American Express Orig ID:2005032111 Desc Date:210326      $10,500.00
                                       22                 CO Entry Descr: ACH Pmt Sec:PPD Trace#:021000026977197 Eed:210326
                                                          Ind ID: Ind Name:Reymond Gamzeletova Trn: 0856977197Tc
                                       23    03/08/2021   Orig CO Name: American Express Orig ID:2005032111 Desc Date:210308 CO   $   350.00
                                                          Entry Descr:ACH Pmt Sec:WebTrace#:021000022439967 Eed:210308 Ind
                                                          ID:M5760 Ind Name:Reymond Gamzeletova
                                       24
                                             03/08/2021   Orig CO Name: American Express Orig ID:2005032111 Desc Date:210308      $   525.00
                                                          CO Entry ACH Pmt Sec:Web Trace#:021000022439515 Eed:210308 Ind
                                       25                 ID:M4682 Ind Name:Reymond Gamzeletova
                                             01/26/2021   Orig CO Name: American Express Orig ID:2005032111 Desc Date:210126      $18,500.00
                                       26                 CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000028315365 Eed:210126
                                                          Ind ID: Ind Name:Reymond Gamzeletova Trn: 0268315365Tc
                                       27    12/28/2020   Orig CO Name: American Express Orig ID:2005032111 Desc Date:201228      $27,000.00
                                                          CO Entry Descr: ACH Pmt Sec:PPD Trace#:021000029471563 Eed:201228
                                       28                 Ind ID: Ind Name:Reymond Gamzeletova Trn: 3639471563Tc


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                                                                                         COMPLAINT
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                                             11/27/2020   Orig CO Name: American Express Orig ID:2005032111 Desc Date:201127   $12,000.00
                                        1                 CO Entry Descr: ACH Pmt Sec:PPD Trace#:021000028025468 Eed:201127
                                                          Ind ID:Ind Name:Reymond Gamzeletova Trn: 3328025468Tc
                                        2    10/27/2020   Orig CO Name:American Express Orig ID:2005032111 Desc Date:201027    $20,000.00
                                                          CO Entry Descr:ACH Pmt Sec:PPDTrace#:021000021337488 Eed:201027
                                        3                 Ind ID: Ind Name:Reymond Gamzeletova Trn: 3011337488Tc
                                             09/28/2020   Orig CO Name:American Express Orig ID:2005032111 Desc Date:200928    $25,000.00
                                        4                 CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000026989393 Eed:200928
                                                          Ind ID: Ind Name:Reymond Gamzeletova Trn: 2726989393Tc
                                        5    08/25/2020   Orig CO Name:American Express Orig ID:2005032111 Desc                $10,000.00
                                                          Date:200825CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000029105080
                                                          Eed:200825 Ind ID: Ind Name:Reymond Gamzeletova Trn: 2389105080Tc
                                        6
                                             07/27/2020   Orig CO Name:American Express Orig ID:2005032111 Desc Date: 200727   $ 8,500.00
                                                          CO Entry Descr: ACH Pmt Sec:PPD Trace#:021000028940393 Eed:200727
                                        7                 Ind ID: Ind Name:Reymond Gamzeletova Trn: 2098940393Tc
                                             06/26/2020   Orig CO Name: AmericanExpress Orig ID:2005032111 Desc Date:200626    $ 7,500.00
                                        8                 CO Entry Descr:ACH Pmt Sec:PPD Trace#:021000029520156 Eed:200626
                                                          Ind ID: Ind Name:Reymond Gamzeletova Trn: 1789520156Tc
                                        9    06/01/2020   Orig CO Name:American Express Orig ID:2005032111 Desc Date:200601    $ 6,500.00
                                                          CO Entry Descr: ACH Pmt Sec: PPD Trace#:021000026248832 Eed:200601
                                       10                 Ind ID: Ind Name:Reymond Gamzeletova Trn: 1536248832Tc
                                             04/27/2020   American Express ACH Pmt PPD ID: 2005032111                          $ 6,196.75
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                                       11    04/03/2020   American Express ACH Pmt PPD ID: 2005032111                          $ 8,500.00
                                             Total                                                                             $388,135.64
                                       12
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                                       13                                        FIRST CAUSE OF ACTION
                                       14     (Civil Claim Under Penal Code Section 496(c) – Theft/Receiving and/or Concealing Stolen
                                       15                                     Property Against All Defendants)
                                       16           17.      Plaintiff repeats and re-alleges each and every allegation of this Complaint by
                                       17   reference and incorporates the same as though fully set forth at length herein.
                                       18           18.      Plaintiff is informed and believes based on Plaintiff’s JP Morgan Chase bank records
                                       19   as identified in paragraph 16 of this Complaint that the Defendants gained unauthorized access to
                                       20   Plaintiff’s JP Morgan Chase bank account and have stolen at least $388,135.64 by conducting
                                       21   unauthorized ACH transfers of Plaintiff’s funds to Defendants.
                                       22           19.      Defendants stole property from Plaintiff and received and/or concealed stolen
                                       23   property. These acts violate California Penal Code § 496 entitled “Receiving or Concealing Stolen
                                       24   Property,” because “a principal in the actual theft of the property may be convicted…pursuant to
                                       25   this section.”
                                       26           20.      For their own financial gain, all Defendants have (1) engaged in a manner of theft
                                       27   and has received, withheld, and/or concealed stolen property as defined by California Penal Code §§
                                       28   484(a) and 496(a); or (2) aided and abetted the other defendants in receiving, withholding, and/or

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                                                                                        COMPLAINT
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                                        1   concealing stolen property in a manner of theft as defined by Penal Code section, 484(a) and 496(a).
                                        2          21.      Penal Code § 496 (a) makes receiving or buying property "that has been obtained in
                                        3   any manner constituting theft or extortion, knowing the property to be stolen or obtained, or who
                                        4   conceals, sells, withholds, or aids in concealing, selling, or withholding any property from the
                                        5   owner, knowing the property to be so stolen or obtained," a criminal offense punishable by
                                        6   imprisonment.
                                        7          22.      Penal Code § 496(c) provides that any person "who has been injured by a violation of
                                        8   [subdivision (a)] . . . may bring an action for three times the amount of actual damages, if any,
                                        9   sustained by the plaintiff, costs of suit, and reasonable attorney's fees."
                                       10          23.      Based on the statutory language, a criminal conviction under Penal Code § 496(a) is
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                                       11   not a prerequisite to recover treble damages under Penal Code § 496(c).
                                       12          24.      The phrase "any manner constituting theft" under Penal Code § 496(a) has been
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                                       13   broadly construed and includes, inter alia, theft by false pretense and is further defined in Penal
                                       14   Code § 484(a) as being: "Every person who shall feloniously steal, take, carry, lead, or drive away
                                       15   the personal property of another, or who shall fraudulently appropriate property which has been
                                       16   entrusted to him or her, or who shall knowingly and designedly, by any false or fraudulent
                                       17   representation or pretense, defraud any other person of money, labor or real or personal property, or
                                       18   who causes or procures others to report falsely of his or her wealth or mercantile character and by
                                       19   thus imposing upon any person, obtains credit and thereby fraudulently gets or obtains possession of
                                       20   money, or property or obtains the labor or service of another, is guilty of theft."
                                       21          25.      Therefore, pursuant to Penal Code § 496(c), Plaintiff is entitled to three times the
                                       22   amount of actual damages sustained, plus costs of suit, and attorneys’ fees, all in an amount to be
                                       23   proven at trial in excess of $1,164,406.92.
                                       24                                      SECOND CAUSE OF ACTION
                                       25                                    (Conversion against all Defendants)
                                       26          26.      Plaintiff repeats and re-alleges each and every allegation of this Complaint by
                                       27   reference and incorporates the same as though fully set forth at length herein.
                                       28          27.      Beginning on April 3, 2020, and continuing up to and until at least February 1, 2022,

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                                                                                          COMPLAINT
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                                        1   Defendants gained unauthorized access to Plaintiff’s JP Morgan Chase bank account and caused
                                        2   numerous ACH payments to be made to Defendants.
                                        3          28.     Defendants converted funds from Plaintiff’s JP Morgan Chase bank account and
                                        4   caused those funds to be transferred via unauthorized ACH transfers from Plaintiff’s JP Morgan
                                        5   Chase bank account to Defendants as referenced in paragraphs 10 through 16 of this Complaint.
                                        6          29.     Plaintiff alleges that Defendants have and continue to wrongfully exercise control
                                        7   over Plaintiff’s funds that were stolen out of Plaintiff’s JP Morgan Chase Bank Account as
                                        8   referenced in paragraphs 10 through 16 of this Complaint.
                                        9          30.     Plaintiff is the rightful owner of the funds that were stolen out of Plaintiff’s JP
                                       10   Morgan Chase Bank Account as referenced in paragraphs 10 through 16 of this Complaint.
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                                       11          31.     Defendants and each of them, intentionally and substantially interfered with
                                       12   Plaintiff’s property by taking possession of Plaintiff’s funds in the total amount of $388,135.64
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                                       13   when it was fraudulent and illegally transferred out of Plaintiff’s JP Morgan Chase bank account as
                                       14   referenced in paragraphs 10 through 16 of this Complaint. Defendants, after being informed that the
                                       15   funds were stolen, have refused to return the stolen funds after Plaintiff demanded their return.
                                       16          32.     As described herein, Plaintiff has not consented to the funds being taken from
                                       17   Plaintiff’s JP Morgan Chase bank account.
                                       18          33.     As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered and
                                       19   continues to suffer damages in an amount to be determined at trial, but not less than $388,135.64.
                                       20          34.     Plaintiff alleges on information and belief that Defendants’ conduct was intentional,
                                       21   willful, wrongful, fraudulent, malicious, oppressive, despicable, and done in bad faith. Plaintiff
                                       22   seeks an award of exemplary and/or punitive damages against the Defendants pursuant to section
                                       23   3294 of the Civil Code.
                                       24                                      THIRD CAUSE OF ACTION
                                       25                       (Aiding and Abetting Conversion against All Defendants)
                                       26          35.     Plaintiffs repeat and re-allege each and every allegation of this Complaint by
                                       27   reference and incorporates the same as though fully set forth at length herein.
                                       28          36.     Plaintiff was harmed by Defendants conversion and each Defendant is responsible

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                                                                                        COMPLAINT
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                                        1   for the harm because they aided and abetted Defendants in the conversion.
                                        2           37.    Defendants share the common goal of converting funds that belong to Plaintiff and
                                        3   causing those funds to be transferred to Defendants.
                                        4           38.    Defendants, and each of them, actively induced, encouraged, aided, abetted, and
                                        5   facilitated in converting funds from Plaintiff’s JP Morgan Chase bank, as hereinafter alleged.
                                        6           39.    Defendants, and each of them, knew of the specific primary wrong that Defendants
                                        7   intended to convert Plaintiff’s funds and substantially assisted each other to convert Plaintiff’s funds
                                        8   from Plaintiff’s JP Morgan Chase bank account and cause those funds to be transferred to
                                        9   Defendants via unauthorized ACH transfers.
                                       10           40.    Defendants gave substantial assistance to each other in converting Plaintiff’s funds.
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                                       11   They encouraged, aided, promoted and instigated Defendants’ conversion by illegally accessing
                                       12   Plaintiff’s JP Morgan Chase bank account and causing unauthorized and fraudulent ACH transfers
     Newport Beach, CA 92660
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                                       13   of funds from Plaintiff’s JP Morgan Chase bank account to accounts held by Defendants.
                                       14           41.    All Defendants are responsible for the conduct of the other defendants as their
                                       15   principal and/or employee or agent.
                                       16                                     FOURTH CAUSE OF ACTION
                                       17                          (Money Had and Received Against All Defendants)
                                       18           42.    Plaintiff repeats and re-alleges each and every allegation of this Complaint by
                                       19   reference and incorporates the same as though fully set forth at length herein.
                                       20           43.    On or about April 3, 2020 through February 1, 2022, Defendants received money in
                                       21   the amount of $388,135.64 that was intended to be used for the benefit of Plaintiff.
                                       22           44.    Plaintiff is informed, believes, and based thereon alleges that Defendants and each of
                                       23   them received money that was intended to be used for the benefit of Plaintiff. However, said money
                                       24   was never used for the benefit of Plaintiff, and Defendants and each of them, has not given any of
                                       25   the money back to Plaintiff, even though Defendants are informed the money rightfully belongs to
                                       26   Plaintiff.
                                       27           45.    Defendants have been put on notice that the money belongs to Plaintiff however, no
                                       28   payment has been made by the Defendants to Plaintiff.

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                                                                                        COMPLAINT
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                                        1            46.      Defendants are responsible for the conduct of each other, as their principal and/or
                                        2   agent.
                                        3            47.      As a direct and foreseeable result of Defendants (either directly or through their
                                        4   agent(s)/employee(s)) wrongful conduct, Plaintiff has suffered damages in the amount of
                                        5   $388,135.64, at least.
                                        6                                            PRAYER FOR RELIEF
                                        7            WHEREFORE, Plaintiff prays for judgment against the Defendants, and each of them, as
                                        8   follows:
                                        9                  1. Actual damages according to proof;
                                       10                  2. Punitive and exemplary damages as allowed by law against all Defendants;
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                                       11                  3. Compensatory damages awarded to Plaintiff in an amount to be proven at trial;
                                       12                  4. Statutory treble damages of $1,164,406.92 awarded to the Plaintiff or in such further
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                                       13                     amount as to be proven at trial (Penal Code § 496(c)).
                                       14                  5. An award of reasonable attorney’s fees as allowed by law (Penal Code § 496(c));
                                       15                  6. An award of costs of suit as allowed by law;
                                       16                  7. Disgorgement of all ill-gotten gains as appropriate;
                                       17                  8. An award of pre-judgment interest as allowed by law;
                                       18                  9. An award of post-judgment interest on all monetary awards; and
                                       19                  10. Such other or further relief in law or equity as may be appropriate.
                                       20                                         DEMAND FOR JURY TRIAL
                                       21            Plaintiff demands a trial by jury as to all issues so triable.
                                       22                                                            Respectfully submitted,
                                       23   Dated: May 19, 2022                                      DAILY LAW GROUP
                                       24
                                                                                                     ___________________________
                                       25
                                                                                                     James D. Daily, Esq.
                                       26                                                            Michael R. Jones, Esq.
                                                                                                     Scott J. Kalter, Esq.
                                       27                                                            Attorneys for Plaintiff,
                                                                                                     LA Tech and Consulting LLC
                                       28

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                                                                                           COMPLAINT
      And Justice for All
            Electronically Filed by Superior Court of California, County of Orange, 05/19/2022 05:35:11 PM.          CM-010
   Case 8:22-cv-01213-DOC-KES              3 Document
                                              - DAVID  H.  1-1 Filed Clerk
                                                          YAMASAKI,    06/24/22
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
 30-2022-01260599-CU-NP-CJC        - ROA #                                   of the  PageBy11
                                                                                    Court     of
                                                                                            Arlene18Gill,Page
                                                                                               FOR COURT  Deputy
                                                                                                         USE
                                                                                                                 ID #:16
                                                                                                             ONLY Clerk.
James D. Daily, Esq. SBN 146699
610 Newport Center Drive, Suite 1200

          TELEPHONE NO.:     (949) 662-6000           FAX NO. (Optional): (949) 258-5555
          E-MAIL ADDRESS:    jdaily@dailylawgroup.com
     ATTORNEY FOR (Name):    LA Tech and Consulting, LLC
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 STREET ADDRESS:      700 Civic Center Drive West
 MAILING ADDRESS:     700 Civic Center Drive West
CITY AND ZIP CODE:    Santa Ana, CA 92701
      BRANCH NAME:    Central Justice Center
CASE NAME: La Tech and Consulting, LLC v. American Express Company, et al.


        CIVIL CASE COVER SHEET                                 Complex Case Designation                     CASE NUMBER:

         Unlimited                     Limited                  Counter               Joinder
         (Amount                       (Amount
                                                        Filed with first appearance by defendant JUDGE:
         demanded                      demanded is
                                                            (Cal. Rules of Court, rule 3.402)
         exceeds $25,000)              $25,000 or less)                                           DEPT.:

                                         Items 1–6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                            Contract                                      Provisionally Complex Civil Litigation
            Auto (22)                                            Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400–3.403)
            Uninsured motorist (46)                              Rule 3.740 collections (09)                    Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                   Other collections (09)                         Construction defect (10)
      Damage/Wrongful Death) Tort                                                                               Mass tort (40)
                                                                 Insurance coverage (18)
             Asbestos (04)                                       Other contract (37)                            Securities litigation (28)
             Product liability (24)                                                                            Environmental/Toxic tort (30)
                                                           Real Property
             Medical malpractice (45)                                                                          Insurance coverage claims arising from the
                                                                 Eminent domain/Inverse
             Other PI/PD/WD (23)                                                                               above listed provisionally complex case
                                                                 condemnation (14)
                                                                                                               types (41)
      Non-PI/PD/WD (Other) Tort                                  Wrongful eviction (33)                  Enforcement of Judgment
             Business tort/unfair business practice (07)        Other real property (26)                       Enforcement of judgment (20)
             Civil rights (08)                             Unlawful Detainer
                                                                                                         Miscellaneous Civil Complaint
             Defamation (13)                                     Commercial (31)
                                                                                                                RICO (27)
             Fraud (16)                                          Residential (32)
                                                                                                                Other complaint (not specified above) (42)
             Intellectual property (19)                          Drugs (38)
                                                                                                         Miscellaneous Civil Petition
             Professional negligence (25)                  Judicial Review
                                                                  Asset forfeiture (05)                         Partnership and corporate governance (21)
           Other non-PI/PD/WD tort (35)
      Employment                                                 Petition re: arbitration award (11)            Other petition (not specified above) (43)

             Wrongful termination (36)                           Writ of mandate (02)
             Other employment (15)                               Other judicial review (39)
2.  This case         is           is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
   a.        Large number of separately represented parties       d.          Large number of witnesses
   b.        Extensive motion practice raising difficult or novel e.          Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                    courts in other counties, states, or countries, or in a federal
   c.        Substantial amount of documentary evidence                       court
                                                                  f.          Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.          monetary b.         nonmonetary; declaratory or injunctive relief c.           punitive
4. Number of causes of action (specify): 1. Civil Claim Under PC 496(c); 2. Conversion 3. Aiding and Abetting Conversion 4. Money Had and Received
5. This case          is           is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: 5/19/2022
James D. Daily, Esq.
                             (TYPE OR PRINT NAME)                                                      (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                            NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
 •    File this cover sheet in addition to any cover sheet required by local court rule.
 •    If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
 •    Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                Page 1 of 2
Form Adopted for Mandatory Use                                                                                    Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
  Judicial Council of California                            CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev.September 1, 2021]                                                                                                                             www.courts.ca.gov
      Case 8:22-cv-01213-DOC-KES Document 1-1 Filed 06/24/22 Page 12 of 18 Page ID #:17
                                                                                    CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                      Contract (not unlawful detainer            Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                           Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case–Seller Plaintiff                  Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               Wrongful Death                               Case                                     Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
          toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
      Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
           Medical Malpractice–                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real Property                                               Case
           Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal          Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)            report as Commercial or Residential)              Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
      Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
          Legal Malpractice                            Writ–Administrative Mandamus                            Abuse
          Other Professional Malpractice               Writ–Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                    Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                     Writ–Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                              Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. September 1, 2021]                                                                                                           Page 2 of 2
                                                        CIVIL CASE COVER SHEET
            Case 8:22-cv-01213-DOC-KES Document 1-1 Filed 06/24/22 Page 13 of 18 Page ID #:18

                                 SUPERIOR COURT OF CALIFORNIA
                                                               COUNTY OF ORANGE




    Superior Court of California, County of Orange

   700 W. Civic Center Drive
   Santa Ana, CA 92702


                                                                                                    E-Filing Transaction #: 41337055
                                                               PAYMENT RECEIPT
                                                                                                                      Receipt #: 12879788
 Clerk ID: agill                 Transaction No: 13051772            Transaction Date: 05/20/2022         Transaction Time: 10:02:02 AM

                                                                                      Fee              Balance             Amount             Remaining
 Case Number                   Fee Type                                    Qty                                              Paid               Balance
                                                                                    Amount$             Due

30-2022-01260599-CU-NP-CJC     194 - Complaint or other 1st paper           1           $435.00           $435.00             $435.00                 $0.00


                                                                                                        Sales Tax:              $0.00
                                                                                                                                      Total
                                                                                                            Total:            $435.00 Rem.
                                                                                                                                      Bal:
      E-Filing : - OneLegal




                                                                                                          E-Filing:           $435.00




                                                                                          Total Amount Tendered:              $435.00


                                                                                                     Change Due:                $0.00




                                                                                                         Balance:               $0.00




                      A $45 fee may be charged for each returned check, electronic funds transfer or credit card payment.

                                                                       COPY




                                                                                                                                            Page: 1
        Case 8:22-cv-01213-DOC-KES Document 1-1 Filed 06/24/22 Page 14 of 18 Page ID #:19
                                                                                        FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
STREET ADDRESS: 700 W. Civic Center DRIVE
MAILING ADDRESS: 700 W. Civic Center Drive
CITY AND ZIP CODE: Santa Ana 92701
BRANCH NAME: Central Justice Center
PLANTIFF: La Tech and Consulting LLC
                                                                                       May 20, 2022
DEFENDANT: American Express Company

Short Title: LA TECH AND CONSULTING LLC VS. AMERICAN EXPRESS COMPANY



                                                                             CASE NUMBER:
                            NOTICE OF HEARING                                30-2022-01260599-CU-NP-CJC
                      CASE MANAGEMENT CONFERENCE


  Please take notice that a(n), Case Management Conference has been scheduled for hearing
  on 10/10/2022 at 09:00:00 AM in Department C20 of this court, located at Central Justice
  Center.

  Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
  that add new parties to the proceeding must provide notice of the Case Management Conference to the
  newly added parties.




                                             Clerk of the Court, By:                                         , Deputy

                                                                                                              Page: 1
                                                    NOTICE OF HEARING
         Case 8:22-cv-01213-DOC-KES Document 1-1 Filed 06/24/22 Page 15 of 18 Page ID #:20

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
    Central Justice Center
    700 W. Civic Center DRIVE
    Santa Ana 92701

   SHORT TITLE: LA TECH AND CONSULTING LLC VS. AMERICAN EXPRESS COMPANY



                                                                                           CASE NUMBER:
             CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                    30-2022-01260599-CU-NP-CJC

     I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
     placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
     pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
     California, on 05/20/2022. Following standard court practice the mailing will occur at Sacramento, California on
     05/23/2022.



                                          Clerk of the Court, by:                                                      , Deputy
     DAILY LAW GROUP
     610 NEWPORT CENTER DRIVE # 1200
     NEWPORT BEACH, CA 92660




                                                                                                                              Page: 2
                                    CLERK'S CERTIFICATE OF SERVICE BY MAIL
V3 1013a (June 2004)                                                                                Code of Civil Procedure , § CCP1013(a)
            Electronically Filed by Superior Court of California, County of Orange, 05/20/2022 10:43:00 AM.
    Case 8:22-cv-01213-DOC-KES
  30-2022-01260599-CU-NP-CJC       - ROA # 8Document       1-1 Filed Clerk
                                              - DAVID H. YAMASAKI,     06/24/22      PageBy16
                                                                             of the Court     of 18Gill,Page
                                                                                            Arlene       DeputyIDClerk.
                                                                                                                  #:21
                                                                                                                                                   SUM-100
                                          SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
AMERICAN EXPRESS COMPANY, a New York Corporation; And Does 1
to 50, inclusive.

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
LA TECH AND CONSULTING, LLC, a California Limited Liability Company
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
continuación.
   Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                         CASE NUMBER: (Número del Caso):
(El nombre y dirección de la corte es): Central Justice Center
700 Civic Center Drive West
Santa Ana, CA 92701
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la dirección y el número
de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
James D. Daily, Esq., 610 Newport Center Drive, Suite 1200, Newport Beach, CA 92660, (949) 662-6000
DATE:                                                                          Clerk, by                                          , Deputy
(Fecha)                                                                        (Secretario)                                       (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                 NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                     1.          as an individual defendant.
                                     2.          as the person sued under the fictitious name of (specify):

                                     3.          on behalf of (specify):
                                          under:        CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.          by personal delivery on (date):                                                                       Page 1 of 1
Form Adopted for Mandatory Use
Judicial Council of California
                                                                     SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]
                   Electronically Filed by Superior Court of California, County of Orange, 05/31/2022 12:38:00 PM.
            Case 8:22-cv-01213-DOC-KES
         30-2022-01260599-CU-NP-CJC      - ROA # 10Document
                                                     - DAVID H. 1-1      Filed 06/24/22
                                                                  YAMASAKI,                 PageBy17efilinguser,
                                                                               Clerk of the Court     of 18 Page     IDClerk.
                                                                                                                 Deputy #:22
                                                                                                                                                                             POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                                            FOR COURT USE ONLY
    James D. Daily, Esq. | SBN: 146699
    Daily Law Group
    610 Newport Center Dr 1200 Newport Beach, CA 926606419
   TELEPHONE NO.: (949) 662-6000 | FAX NO. (949) 258-5555 | E-MAIL ADDRESS (Optional): jdaily@dailylawgroup.com;mjones@dailylawgroup.com
    ATTORNEY FOR (Name): Plaintiff: LA Tech and Consulting, LLC



 Orange County Superior Court
          STREET ADDRESS: 700     Civic Center Drive West
         MAILING ADDRESS:

         CITY AND ZIP CODE: Santa   Ana, CA 92701
            BRANCH NAME: Central     Justice Center
      PLAINTIFF: LA Tech and Consulting, LLC                                                                                     CASE NUMBER:


   DEFENDANT: American Express Company                                                                                           30202201260599CUNPCJC

                                                                                                                                 Ref. No. or File No.:
                                        PROOF OF SERVICE OF SUMMONS                                                                                 LA Tech v American

1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:

   a.     Summons
   b.     Complaint
   c.     Alternative Dispute Resolution (ADR) package
   d.     Civil Case Cover Sheet (served in complex cases only)
   e.     Cross-complaint
   f.     other (specify documents): Civil Case Cover Sheet
3. a. Party served (specify name of party as shown on documents served):
    American Express Company, a New York Corporation

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         Daisy Montenegro - CT Process Specialist
                Age: 31-35                 Weight: 181-200 Lbs Hair: Black                         Sex: Female
                Height: 5'1 - 5'6          Eyes:               Race: Latino

4. Address where the party was served: 330 N Brand Blvd Ste 700
                                                       Glendale, CA 91203-2336
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 5/26/2022 (2) at (time): 12:45 PM

    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3b):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.

             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.

             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.

             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.

             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.


                                                                                                                                                                               Page 1 of 2
Form Approved for Mandatory Use                                                                                                                           Code of Civil Procedure, § 417.10
Judicial Council of California                                PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                                                    POS010-1/290175
              Case 8:22-cv-01213-DOC-KES
          PETITIONER: LA Tech and Consulting, LLC                 Document 1-1 Filed 06/24/22 Page 18
                                                                                                CASE   of 18 Page ID #:23
                                                                                                     NUMBER:

                                                                                                                 30202201260599CUNPCJC
      RESPONDENT: American Express Company


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                         (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of (specify): American Express Company, a New York Corporation
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: V. ENRIQUE MENDEZ - DDS Legal Support
   b. Address: 2900 Bristol Street Costa Mesa, CA 92626
   c. Telephone number: (714) 662-5555
   d. The fee for service was: $ 68.90
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 3428
                  (iii) County: LOS ANGELES

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 5/31/2022
                DDS Legal Support
                2900 Bristol Street
                Costa Mesa, CA 92626
                (714) 662-5555
                www.ddslegal.com



                              V. ENRIQUE MENDEZ
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




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                                                          PROOF OF SERVICE OF SUMMONS
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